Case 3:17-cv-01885 Document171-2 Filed 01/04/19 Page 1 of 1 PagelD #: 826

CG M4] | Omar Ahmad <oahmad@eveslawfirm.com>

A.E. v. Nield et al.

Omar Ahmad <oahmad@eveslawfirm.com> Wed, Aug 22, 2018 at 1:05 PM
To: Steve Nord <sknord@onalegal.com>

Ce: "Ryan Q. Ashworth" <rqashworth@onalegal.com>, "Nathanial A. Kuratomi"
<NAK@jenkinsfenstermaker.com>, Lee Hall <Imh@jenkinsfenstermaker.com>, "Lisa A.

Messer" <lamesser@onalegal.com>, Tim Eves <teves@eveslawfirm.com>

Hi Steve,

We are not going to be able to go forward with our clients’ depositions next week. We
haven't yet had the in camera hearing regarding the Cabell County Prosecutor's file on
the investigation of your client and that issue needs to be resolved before we can move
forward.

We can discuss alternative dates once we have conducted the hearing and the matter is
resolved.

Thanks,

Omar

Omar D. Ahmad, Esq.

Eves Law Firm, PLLC

5348 US 60 East

Huntington, West Virginia 25705
Tel 304.736.9999
www.eveslawfirm.com

Confidentiality Notice: The information contained in this e-mail is being sent by or on behalf of an

attorney and is intended exclusively for the individual or entity to which it is addressed. T

communication is privileged, proprietary, confidential and otherwise legally exempt from disclosure to anyone
other than the intended recipient. If you are not the intended recipient, you are not authorized to read,
print, retain, copy, disclose or disseminate this e-mail, any part thereof, or any attachment thereto. If

yc have received this e-mail in error, please notify the sender immediately by e-mail or by telephone (304-

36-9999) and delete this e-mail and any copies

privilege that may attach to this co

for viruses and are believed to be free o
responsibility to ensure that it is virus free. This firm accepts no responsibili

arising from its use.

